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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                      WESTERN DIVISION


CHARLENE SMITH,

               Plaintiff,

vs.                                                                 Case No. 1:16cv1123

ENHANCED RECOVERY COMPANY, LLC,                                     Judge Michael R. Barrett

               Defendant.


                                  NOTICE OF SETTLEMENT

       COMES NOW the Plaintiff, Charlene Smith, by counsel, and hereby notifies the Court that

a settlement has been reached between the Plaintiff, Charlene Smith, and the Defendant, Enhanced

Recovery Company, LLC. The settlement must be approved by the United States Bankruptcy

Court for the Southern District of West Virginia, Case No. 3:16-bk-30155. The parties respectfully

request that the Court stay this matter pending approval of the settlement in bankruptcy court.




                                             By:     /s/ Jason E. Causey
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                                                     (304) 242-8410
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                                                     Counsel for Plaintiff
     Case: 1:16-cv-01123-MRB Doc #: 3 Filed: 04/19/17 Page: 2 of 2 PAGEID #: 9



                               CERTIFICATE OF SERVICE

        Service of the foregoing NOTICE OF SETTLEMENT was had upon the Defendant herein
on the 19th day of April, 2017, by filing electronically with the Clerk of the Court using the
CM/ECF system, and by mailing a copy of said Notice to the following:

       Shelly Gensmer, Senior Director of Legal
       ERC
       8014 Bayberry Road
       Jacksonville, FL 32256



                                            By:     /s/ Jason E. Causey
                                                    JASON E. CAUSEY #0081933
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                                                    Counsel for Plaintiff




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